Case 1:05-cr-00477-MHC-GGB Document 1612 Filed 05/17/12 Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 JUAN PELAES PEREZ-URENA,                     :           CRIMINAL ACTION NO.
                                              :           1:05-CR-477-2-CC
                      Petitioner,             :
                                              :           CIVIL ACTION NO.
 vs.                                          :           1:11-CV-1356-CC
                                              :
 UNITED STATES OF AMERICA,                    :           MOTION TO VACATE
                                              :           28 U.S.C. § 2255
                      Respondent.             :

                                           ORDER
        This matter is before the Court on the Final Report and Recommendation
 [Doc. No. 1595] issued by Magistrate Judge Gerrilyn G. Brill on March 27, 2012,
 recommending that Petitioner Juan Pelaes Perez-Urena’s motion to vacate sentence
 and a certificate of appealability be denied. The record reflects that no objections to
 the Final Report and Recommendation have been filed and that the time permitted
 for filing any such objections has elapsed.1
        Having conducted a plain error review in accordance with United States v.
 Slay, 714 F.2d 1093, 1095 (11th Cir. 1983), the Court finds that the Final Report and
 Recommendation is correct both in fact and in law. Accordingly, the Court
 ADOPTS the Final Report and Recommendation as the decision of this Court. The
 Court hereby DENIES Petitioner’s motion to vacate sentence [Doc. No. 1523] and
 DENIES the issuance of a certificate of appealability.
        Further, Petitioner’s Motion for Reconsideration [Doc. No. 1497] and Request


        1
               Petitioner did file a notice of appeal [Doc. No. 1597] from the Final Report and
 Recommendation, but the Final Report and Recommendation is not a final and appealable
 order. Perez-Priego v. Alachua Cnty. Clerk of Court, 148 F.3d 1272, 1273 (11th Cir. 1998)
 (citations omitted). Accordingly, Petitioner’s filing of the notice of appeal did not confer
 jurisdiction over the case from this Court to the United Courts of Appeals for the Eleventh
 Circuit. See United States v. Kapelushnik, 306 F.3d 1090, 1094 (11th Cir. 2002) (holding that
 “a premature notice of appeal does not divest the district court of jurisdiction over the
 case”).
Case 1:05-cr-00477-MHC-GGB Document 1612 Filed 05/17/12 Page 2 of 2



 to Proceed in Forma Pauperis on Appeal [Doc. No. 1601] are DENIED as moot.


                              SO ORDERED this 17th day of May, 2012.


                              s/ CLARENCE COOPER
                              CLARENCE COOPER
                              SENIOR UNITED STATES DISTRICT JUDGE




                                     -2-
